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                                    RETURN OF SERVICE
                               UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT District of Florida
 Case Number: 24-CV-23616-CMA
 Plaintiff: ANTHONY SHNAYDERMAN, et al., on
 behalf of themselves and all others similarly
 situated,
 vs.
 Defendant: OZONE NETWORKS, INC. (d/b/a
 OPENSEA),
 For:
 The Moskowitz Law Firm
 2 Alhambra Plaza Suite 601
 Coral Gables, FL 33134
 Received by Magic City Process Service, LLC on the 27th day of September, 2024 at 1:01 pm to be served
 on Ozone Networks, Inc. (D/B/A Opensea), C/O CORPORATION SERVICE COMPANY, 1201 HAYS
 STREET, TALLAHASSEE, FL 32301-2525.

 I, ERIC LARSON #063, do hereby affirm that on the 1st day of October, 2024 at 1:55 pm, I:
 served a CORPORATION by delivering a true copy of the SUMMONS IN A CIVIL ACTION, CLASS
 ACTION COMPLAINT JURY DEMAND, CIVIL COVER SHEET, Notice of Electronic Filing, ORDER,
 NOTICE OF CLARIFICATION REGARDING THE COURT’SSUBJECT MATTER JURISDICTION with
 the date and hour of service endorsed thereon by me, to: ALIC MADDOX as CLERK FOR RA for Ozone
 Networks, Inc. (D/B/A Opensea), C/O CORPORATION SERVICE COMPANY, at the address of: 1201
 HAYS STREET, TALLAHASSEE, FL 32301, and informed said person of the contents therein, in
 compliance with state statutes.
 Additional Information pertaining to this Service:
 ALICE MADDOX, CLERK FOR RA, BF 25 YRS 5'1 100 LBS BLACK HAIR NO GLASSES

 Under penalties of perjury, I swear or affirm, pursuant to Fla. Stat. § 92.525 that I have read the foregoing
 and the facts stated there are true. I am over the age of 18, have no interest in the above action, and am a
 Certified Process Server in good standing in the county in which service was made



                                                                            ERIC LARSON #063
                                                                            Process Server

                                                                            Magic City Process Service, LLC
                                                                            1825 PONCE DE LEON BLVD #283
                                                                            CORAL GABLES, FL 33134
                                                                            (786) 881-8228

                                                                            Our Job Serial Number: MGS-2024008173




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